                       Case 4:11-cr-00043-DPM                   Document 63              Filed 01/10/12           Page 1 of 6
A0245B        (Rev. 09/11) Judgment in a Criminal Case                                                                      FILED
                                                                                                                         U.S. DISTRICT COURT
              Sheet I                                                                                                EASTERN DISTRICT AR



                                          UNITED STATES DISTRICT COURT.AME                                               JAN lO
                                                                                                             \}      SW       cC R
                                                             Eastern District of Arkansas                    By: __;-.,.,.~,e-*.u.~~.l-
                                                                          )
              UNITED STATES OF AMERICA                                    )
                                  v.                                      )
                    Romone Robert Cherry                                  )
                                                                          )        Case Number: 4: 11-cr-43-DPM-01
                                                                          )        USM Number: 26313-009
                                                                          )
                                                                          )        Latrece Gray
                                                                                   Defendant's Attorney
THE DEFENDANT:
ft'pleaded guilty to count(s)          3 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through          __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
lt'count(s)      1, 5, and 7                             D is      'i/are dismissed on the motion of the United States.
         It is ordered that the defendant nust notify the United States attorney for this district within 30 days of any change of nam, residence,
or mailing address until all fmes, restitution1 costs, and speail assessments imposed by this judgrrent are fully paid. Ifurdered to pay restitution,
the defenaant must notify the court and Umted States attorney of material changes in economic circumstances.

                                                                              1/9/2012
                                                                          Date oflmposition of Judgment



                                                                          Signater:::;:Jd~/= .
                                                                              D.P. Marshall Jr.                         U.S. District Judge
                                                                          Name of Judge                                Title of Judge


                                                                                         ~                rM/a-
                                                                          Date    /O ~v~
                       Case 4:11-cr-00043-DPM                 Document 63        Filed 01/10/12        Page 2 of 6
AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                  Judgment- Page      2   of   6
DEFENDANT: Romone Robert Cherry
CASE NUMBER: 4: 11-cr-43-DPM-01


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    TIME SERVED




    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at      -------------------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a -------------------------------- , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL
                          Case 4:11-cr-00043-DPM                 Document 63            Filed 01/10/12           Page 3 of 6
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 -Supervised Release

                                                                                                                            3_ of
                                                                                                            Judgment-Page _ _                  6
DEFENDANT: Romone Robert Cherry
CASE NUMBER: 4: 11-cr-43-DPM-01
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
         2YEARS

        The defendant must report to the probation office in the districtto which the defendant is released within 72 hours of releasd'rom the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that hare been adopted by this court as well as with any additiomdonditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the pronatiOn officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seveny-two hours of being arrested or questioned by a law enforcem.mt officer;
  12)      the d~fe.ndant shall not enter into any agreem ent to act as an informer or a special agent of a law enforcem ent agency without the
           permtssiOn of the court; and

  13)      as directed by the probation officer, the defendant shall notiy third parties of risks that may be occasioned by the defendmt's criminal
           record or personafhistory or characteristics and shall perm it the probation officer tom ake such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release

                                                                                            Judgment-Page   4     of          6
DEFENDANT: Romone Robert Cherry
CASE NUMBER: 4: 11-cr-43-DPM-01

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The Defendant shall not obtain employment in any FDIC-insured institution or Federal Credit Union.

 15) The Defendant shall disclose all financial information upon request of the Probation Office, including loans, lines of
 credit, and tax returns. This includes records of any business with which the Defendant is associated.

 16) The Defendant must make restitution in the amount of $18,737.12 to Walmart Stores. The Defendant will pay 50
 percent per month of all funds that are available to him during any imprisonment. During the two-year term of supervised
 release, Defendant will pay 10 percent per month of his monthly gross income. The interest requirement waived.
 Restitution is joint and several with Alfred Eugene Horn and Sharise LaShawn Pearson.

 17) Because the Defendant is not a legal resident of this district, the period of supervised release is to be administered by
 the district where he is a legal resident.
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  AO 245B    (Rev. 09/11) Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                    Judgment- Page       5      of        6
  DEFENDANT: Romone Robert Cherry
  CASE NUMBER: 4: 11-cr-43-DPM-01
                                                 CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                                                          Restitution
   TOTALS            $ 100.00                                          $                                 $ 18,737.12


   D The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

   r;j The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYlllent, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is pmd.




    ATIN: Restitution



    St. Louis, MO 63150                                                       $18,737.12                $18,737.12       100%




   TOTALS                               $                  18,737.12                  18,737.12
                                                                            $ ----------~----
                                            ----------~----




   D    Restitution amount ordered pursuant to plea agreement $

   D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   fi/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       fi/ the interest requirement is waived for the D fme fi/ restitution.
        D the interest requirement for the              D fme   D restitution is modified as follows:


   *Findings for the total aroount of losses are required under ChaJbers 109A, 110, 110A, and 113A of Title 18 fooffenses committed on or after
   September 13, 1994, but before April23, 1996.
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